O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the

                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                            )   Case No:   5:98CR164-07
                      Leonard Roydean Holland
                                                                            )   USM No: 13732-058
Date of Previous Judgment: 07/10/2000                                       )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                           )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of               months is reduced to                            .



REASON FOR DECISION:


In the Court's discretion, the sentence of the Defendant will not be reduced due to excessive disciplinary actions
incurred by the Defendant while incarcerated. See 18 U.S.C. § 3553(a)(1) and 18 U.S.C. § 3553(a)(2)(B) and
(C).




IT IS SO ORDERED.


                                                                                     Signed: May 2, 2008




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